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AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case

 

 

 

Sheet | Le
UNITED STATES DISTRICT COURTHI3 APR 17 AH 8 50
SOUTHERN DISTRICT OF CALIFORNIA (chess ys TRS eel Wa
OOTHERT. GE vialt a, CALI gine
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE We
Vv. (For Offenses Committed On or After November 1, 1982) pirz-
LUIS GARCIA (02), | Case Number: 13CR0645-MMA

Federal Defenders, Inc., Tommy Hai Vu

 

Defendant’s Attorney
REGISTRATION NO, 02150298

O

THE DEFENDANT:
pleaded guilty to count(s) ONE OF THE INFORMATION

 

C] was found guilty on count(s)

after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

 

 

 

Count
Title & Section Nature of Offense Number(s)
8:1324(a)(1)(A)(ii) and Transportation of Illegal Aliens and Aiding and Abetting 1!
(v)(1I)
The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984. ‘
The defendant has been found not guilty on count(s)
oO Counts) is C] are[_] dismissed on the motion of the United States.
Assessment: $100.00
Fine waived ] Forfeiture pursuant to order filed , included herein.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,

or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States Attorney of any material we eae economic circumstances.

IL 15,2013 aA =<)

   

HON. MICHAEL M. ANELLO
UNITED STATES DISTRICT JUDGE

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AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
Sheet 2 — Imprisonment

 

. Judgment — Page _ 2 of 3
DEFENDANT: LUIS GARCIA (02),
CASE NUMBER: 13CR0645-MMA
IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of

FIVE (05) MONTHS

OJ Sentence imposed pursuant to Title 8 USC Section 1326(b).

C] The court makes the following recommendations to the Bureau of Prisons:

[-] The defendant is remanded to the custody of the United States Marshal.

["] The defendant shall surrender to the United States Marshal for this district:

Cja am. pm. on

as notified by the United States Marshal.

 

["] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
C] before

[_] as notified by the United States Marshal.

 

C] as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
] have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

13CR0645-MMA

 
 

 

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AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judgment—Page 3 of —_ 5
DEFENDANT: LUIS GARCIA (02), :
CASE NUMBER: 13CR0645-MMA

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
TWO (02) YEARS

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than __4__ drug tests per month during
the term of supervision, unless otherwise ordered by court.
C] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of

future substance abuse. (Check, if applicable.)

Xx] The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis

Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d). . .
Cc] The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed

by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
was convicted of a qualifying offense. (Check if applicable.)

C The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.

The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
_ any special conditions imposed.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer,

2) the defendant shal! report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permita probation officer to visit him or her at any time at home or elsewhere and shal! permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) asdirected by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant's compliance with such notification requirement.

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AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
Sheet 4 — Special Conditions

. Judgment—Page 4 of >
DEFENDANT: LUIS GARCIA (02),

CASE NUMBER: 13CR0645-MMA

SPECIAL CONDITIONS OF SUPERVISION

Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
this condition.

CT] If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.

, a Not transport, harbor, or assist undocumented aliens.
[] Not associate with undocumented aliens or alien smugglers.
Cl Not reenter the United States illegally.
May or enter or reside in the Republic of Mexico with written permission of the Court or probation officer.

Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
CT) Not possess any narcotic drug or controlled substance without a lawful medical prescription.
‘a Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

CJ Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
amount to be determined by the probation officer, based on the defendant's ability to pay.

C] Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
officer, if directed.

] Provide complete disclosure of personal and business financial records to the probation officer as requested.

TJ Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
probation officer.

O Seek and maintain full time employment and/or schooling or a combination of both.
O Resolve all outstanding warrants within 60 days.
‘a Complete hours of community service in a program approved by the probation officer within

C] Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

T Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

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AO 245B — (Rev. 2010) Judgment in a Criminal Case
Sheet 3 — Continued 2 — Supervised Release
Judgment—Page _ 5 of _ 5
DEFENDANT: LUIS GARCIA (02),
CASE NUMBER: 13CR0645-MMA

SPECIAL CONDITIONS OF SUPERVISION

[x] Be monitored for a period of _5 months, with the location monitoring technology at the discretion of the
probation officer. The offender shall abide by all technology requirements and shall pay all or part of the costs of
participation in the location monitoring program, as directed by the court and/or the probation officer. In addition to
other court-imposed conditions of release, the offender's movement in the community shall be restricted as specified

 

below:
[| You are restricted to your residence every day from to . (Curfew)
You are restricted to your residence every day from to as directed by the

 

probation officer. (Curfew)

You are restricted to your residence at all times except for employment; education; religious services;
medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
obligations; or other activities as pre-approved by the probation officer. (Home Detention)

[J You are restricted to your residence at all times except for medication necessities and court appearances or
other activities specifically approved by the court. (Home Incarceration)

[] Be monitored while under supervision with location monitoring technology at the discretion of the
probation officer, which shall be utilized for the purposes of verifying compliance with any court-imposed
condition of supervision. The offender shall pay all or part of the costs of location monitoring based upon
their ability to pay as directed by the court and/or probation officer.

 
